                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

ERICKA M. BYRD, KEMONE BROOKS,
QUANTEZ MOORE and EARNESTINE
LAWSON,

                    Plaintiffs,

v.                                                     Case No.: 3:23-cv-266-WWB-SJH

JWB PROPERTY MANAGEMENT,
LLC. and JWB REAL ESTATE
CAPITAL, LLC,

                    Defendants.


                                         ORDER

      THIS CAUSE is before the Court on the parties’ Joint Stipulation of Dismissal (Doc.

60), filed November 18, 2024. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

the Clerk is directed to terminate all pending motions and close this case.

      DONE AND ORDERED at Jacksonville, Florida on November 19, 2024.




Copies to:

Counsel of Record
